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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                                 CASE NO. 17-69886-LRC

RICHARD CHRISTOPHER KOSKEY,                            CHAPTER: 13

               Debtor.                                 JUDGE: LISA RITCHEY CRAIG

WELLS FARGO BANK, NATIONAL                             CONTESTED MATTER
ASSOCIATION AS TRUSTEE FOR OPTION
ONE MORTGAGE LOAN TRUST 2006-3,
ASSET-BACKED CERTIFICATES, SERIES
2006-3,

               Movant,
v.

RICHARD CHRISTOPHER KOSKEY, Debtor
MELISSA J. DAVEY, Trustee,

               Respondent(s).


                                    NOTICE OF HEARING

       PLEASE TAKE NOTICE that the Movant named above has filed a Motion for Relief
from the Automatic Stay and related papers with the Court seeking an Order Granting Relief
from the Automatic Stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
in Courtroom 1204, United States Courthouse, 75 Ted Turner Drive SW, Atlanta, GA 30303, at
1:15 P.M., on May 8, 2018.

        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court
to grant the relief sought in these pleadings, or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how, and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk’s Office is: Clerk,
U.S. Bankruptcy Court, 75 Ted Turner Drive SW, Room 1340, Atlanta, GA 30303. You must
also mail a copy of your response to the undersigned at the address stated below.
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         If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. If a final decision cannot
be rendered by the Court within sixty (60) days of the date of the request, Movant waives the
requirement that a final decision be issued within that period. Movant consents to the automatic
stay remaining in effect until the Court orders otherwise.



                                                     Brian K. Jordan, Bar No.: 113008
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                                 CASE NO. 17-69886-LRC

RICHARD CHRISTOPHER KOSKEY,                            CHAPTER: 13

          Debtor.                                      JUDGE: LISA RITCHEY CRAIG
WELLS FARGO BANK, NATIONAL                             CONTESTED MATTER
ASSOCIATION AS TRUSTEE FOR OPTION
ONE MORTGAGE LOAN TRUST 2006-3,
ASSET-BACKED CERTIFICATES, SERIES
2006-3,

               Movant,
v.

RICHARD CHRISTOPHER KOSKEY, Debtor
MELISSA J. DAVEY, Trustee,

               Respondent(s).

                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Movant named above and shows this Court the following:

      1.       This Motion is made pursuant to Section 362(d) of the Bankruptcy Code for relief

from the automatic stay for all purposes allowed by law and the contract between the parties,

including, but not limited to, the right to foreclose on certain real property by a private power of

sale contained in a certain Security Deed.

      2.       Movant is the holder or the servicer of a loan secured by certain real property in

which the Debtor has an interest. Said real property is security for a Promissory Note, and is

commonly known as 272 NE 14th St, Atlanta, Georgia 30309-3659.

      3.       There has been a default in mortgage payments which have come due since this

case was filed. As of April 17, 2018, five (5) post petition payments of $1,134.57 each, less

suspense funds of $900.00, for a total amount of $4,772.85, have been missed. In addition, the
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following post petition fees have incurred: Preparation and filing of Objection to Confirmation of

$500.00; Review of Chapter 13 Plan of $150.00; and Preparation and filing of Fee Notice of

$150.00.

       4.          The unpaid principal balance is $174,967.24, and interest is due thereon in

accordance with the Promissory Note.

       5.          On or about March 8, 2012, Debtor executed an agreement to modify the loan.

       6.          Because of the default and clear inability to make all required payments, Movant

is not adequately protected.

       7.          Because the Loan Documents so provide, Movant is entitled to reasonable

attorney's fees.

       8.          Movant requests that in the event the Motion is granted, the Trustee be ordered to

cease funding any balance of Movant’s claim.

       9.          Movant requests that the provisions of Fed. R. Bankr. P 4001(a)(3) be waived.

      10.          Ocwen Loan Servicing, LLC services the underlying mortgage loan and note for

the property referenced in this Motion for Relief for Wells Fargo Bank, National Association as

Trustee for Option One Mortgage Loan Trust 2006-3, Asset-Backed Certificates, Series 2006-3,

and is entitled to proceed accordingly. Should the Automatic Stay be lifted and/or set aside by

Order of this Court or if this case is dismissed or if the debtor obtains a discharge and a

foreclosure action is commenced or recommenced, said foreclosure action will be conducted in

the name of Wells Fargo Bank, National Association as Trustee for Option One Mortgage Loan

Trust 2006-3, Asset-Backed Certificates, Series 2006-3. Wells Fargo Bank, National Association

as Trustee for Option One Mortgage Loan Trust 2006-3, Asset-Backed Certificates, Series 2006-

3 has the right to foreclose because it is the original mortgagee or beneficiary or assignee of the
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security instrument for the referenced loan. Wells Fargo Bank, National Association as Trustee

for Option One Mortgage Loan Trust 2006-3, Asset-Backed Certificates, Series 2006-3, directly

or through an agent has possession of the promissory note and the promissory note is either made

payable to Wells Fargo Bank, National Association as Trustee for Option One Mortgage Loan

Trust 2006-3, Asset-Backed Certificates, Series 2006-3, or has been duly endorsed.

      11.      Movant requests that upon entry of an Order Granting this Motion and Lifting the

Stay, the Chapter 13 Trustee make no further payments on account of Movant’s secured claim,

that the secured portion of Movant’s claim be deemed withdrawn without prejudice to Movant’s

right to file an amended unsecured claim for any deficiency and that absent a stipulation or order

to the contrary, Movant shall return to the Chapter 13 Trustee any payments received from the

Trustee on account of Movant’s secured claim, after entry of an Order Granting this Motion.

      12.      Movant requests that it be permitted to contact the Debtor or Debtor’s Counsel, as

appropriate, through its agents, servicers and representatives for the purpose of engaging in

discussions and consideration for possible loss mitigation options, solutions and resolutions, as

appropriate with regard to the underlying Security Deed and Note, including, but not limited to

loan modification or other loss mitigation alternatives.

       WHEREFORE, Movant prays for an Order lifting the automatic stay, authorizing it to

proceed with the exercise of its private power of sale and to foreclose under its Loan Documents

and appropriate state statutes, and for an award of reasonable attorney’s fees. Movant also prays

that Fed. R. Bankr. P. 4001(a)(3) be waived. Movant also prays that the Chapter 13 Trustee make

no further payments on account of Movant’s secured claim, that Movant be permitted to contact

the Debtor or Debtor’s Counsel, as appropriate, through its agents, servicers and representatives
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for the purpose of engaging in discussions and consideration for possible loss mitigation options,

and for such other and further relief as is just and equitable.



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                                                       Attorney for Movant
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Name:               Richard Christopher Koskey
BK Case Number:     17-69886-lrc
Filing Date:        11/13/2017
Post First Due:     12/1/2017                                                                                  Completed By:      rswetha
Post-Petition Due   Date Received                 Amount Received     Amount Applied   Suspense Application    Suspense Balance   Comments
                                       12/14/2017 $          900.00                    $                900.00 $           900.00
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Name:               Richard Christopher Koskey
BK Case Number:     17-69886-lrc
Filing Date:        11/13/2017
Completed by:       rswetha

Due Date            Total Payment                   Principal        Interest        Escrow
        12/1/2017   $                    1,134.57   $       571.29   $      433.15   $     130.13
         1/1/2018   $                    1,134.57   $       572.71   $      431.73   $     130.13
         2/1/2018   $                    1,134.57   $       574.15   $      430.29   $     130.13
         3/1/2018   $                    1,134.57   $       575.58   $      428.86   $     130.13
         4/1/2018   $                    1,134.57   $       577.02   $      427.42   $     130.13
Total Due           $                    5,672.85   $     2,870.75   $ 2,151.45      $     650.65
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Optional
Products   NOPC Filed Date
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                              Case No. 17-69886-LRC

 RICHARD CHRISTOPHER KOSKEY,                         Chapter 13

                Debtor.


                                 CERTIFICATE OF SERVICE

   I, the undersigned, hereby certify under penalty of perjury that I am, and at all times

hereinafter mentioned, was more than 18 years of age, and that on the April 20, 2018, I served a

copy of Notice of Hearing and Motion for Relief from the Automatic Stay which was filed in

this bankruptcy matter on the April 20, 2018, in the manner indicated:

The following parties have been served via e-mail:

Howard P. Slomka                                 Melissa J. Davey
se@myatllaw.com                                  mail@13trusteeatlanta.com

The following parties have been served via U.S. First Class Mail:

Richard Christopher Koskey
272 14th St NE
Unit 6
Atlanta, GA 30309

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.
Dated: April 20, 2018
                                              Brian K. Jordan, Bar No.: 113008
                                              Attorney for Movant
                                              Aldridge Pite, LLP
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